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                            UNITED STATES DISTRICT COURT
                                  DISTRICT OF IDAHO




GARY L. STORM and SUSAN L.
STORM,                                               Case No.1:16-CV-00306-REB

              Plaintiffs,                            ORDER OF DISMISSAL
                                                     WITH PREJUDICE
              vs.

UNITED STATES OF AMERICA; and
DOES I-X

              Defendant.


       Upon review of the Stipulation for Dismissal With Prejudice (Dkt. 17), and for

good cause appearing therefrom,

       IT IS HEREBY ORDERED that the Complaint filed in the above-entitled matter
be, and the same is hereby, DISMISSED WITH PREJUDICE, each party to bear their
own costs and attorney fees.


                                    DATED: January 9, 2017




                                    Honorable Ronald E. Bush
                                    Chief U. S. Magistrate Judge




ORDER OF DISMISSAL WITH PREJUDICE - 1
